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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------------------X

   In re:
                                                                Chapter 7
   LUI J. KIM,
                                                                Case No. 11-15842 (MG)
            Debtor.

   --------------------------------------------------------X




                REAL ESTATE BROKER’S REPORT
         FOR THE SALE OF REAL PROPERTY KNOWN AS
        52-09 SKILLMAN AVENUE, WOODSIDE, NEW YORK




                                            Chapter 7 Trustee
                                             Robert L. Geltzer
                                          Law Office of Robert L.
                                                 Geltzer
                                            1556 Third Avenue
                                           New York, NY 10128
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              Affidavit of Bankruptcy Rule 2016 and Certification


                                Exhibit A
                   MYC & Associates, Inc. Retention Order


                                    Exhibit B
                                 Advertisements


                                    Exhibit C
                                   Sale Order
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                             REPORT OF SALE
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   MYC & ASSOCIATES, INC.
   1110 South Avenue, Suite 61
   Staten Island, New York 100314
   Tel. (347) 273-1258
   www.myccorp.com
   Victor M. Moneypenny
   Marc P. Yaverbaum
   John D. Cronin

   Real Estate Broker to Robert L. Geltzer, the Chapter 7 Trustee


   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------------------X

   In re:
                                                                Chapter 7
   LUI J. KIM,
                                                                Case No. 11-15842 (MG)
            Debtor.

   --------------------------------------------------------X


     REAL ESTATE BROKER’S REPORT FOR THE SALE OF REAL PROPERTY
        KNOWN AS 52-09 SKILLMAN AVENUE, WOODSIDE, NEW YORK


   TO THE HONORABLE MARTIN GLENN,
   UNITED STATES BANKRUPTCY JUDGE:


            1.      MYC & ASSOCIATES, INC., herein referred to as “MYC” or the

   “Broker”, was retained pursuant to 11 U.S.C. 327(a) as of May 10, 2012, as a

   real estate broker to Robert L. Geltzer (the “Trustee”), the Court appointed

   Chapter 7 trustee of the estate of Lui J. Kim (the “Debtor”). Annexed to this

   report as EXHIBIT A is a copy of the order authorizing the retention of MYC as

   the real estate broker to the Trustee. [Docket No. 43]
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                                     BACKGROUND

          2.    On December 22, 2011 (the “Petition Date”), the Debtor filed a

   voluntary petition for relief under Chapter 11 of the Bankruptcy Code.



          3.    The Debtor was the owner of real property located at 52-09

   Skillman Avenue, Woodside, NY (the “Property”), a six (6) unit, walk-up,

   residential apartment building.


          4.    On February 9, 2012, the Office of the United States Trustee

   (“UST”) filed a motion (the “Conversion Motion”) [Doc. 20] pursuant to section

   1112(b) to convert the Debtor’s chapter 11 case to a case under chapter 7

   because, inter alia, “The Debtor’s bankruptcy schedules were inaccurate. The

   Debtor had not accounted for the use of his income. The Debtor had not filed

   operating reports, provided proof of adequate insurance coverage, or paid United

   States Trustee quarterly fees” and “upon information and belief, the Debtor had

   used cash collateral without authorization.”


          5.    On March 14, 2012, this Court entered an order granting the

   Conversion Motion.


          6.    On or about March 15, 2012, the Trustee was appointed as interim

   trustee of the Debtor, thereafter became permanent trustee pursuant to Section

   702(d) of the Bankruptcy Code and by operation of law, and continues to serve

   as such trustee.
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                                        MARKETING

         7.     As the Court appointed Real Estate Broker, MYC’s primary

   responsibility was to market and sell the assets of the Debtor, specifically the

   Property.



         8.     MYC has taken the following steps to market the Property:

                a.      posted     an      advertisement      on   MYC’s    website,

                        www.myccorp.com;

                b.      sent an e-mail blast to MYC database subscribers (MYC has

                        over 640 subscribers, including principals, brokers and other

                        professionals who, in addition to being potential purchasers

                        of Properties, have their own networks of potential

                        purchasers);

                c.      caused a print advertisement to appear in the New York

                        Times on Sunday, August 19, 2012;

                d.      placed web postings on www.loopnet.com, www.zillow.com,

                        www.propertyshark.com,         www.newyorktimes.com      and

                        www.trulia.com;

                e.      showed the Property by appointment only;

                f.      held three (3) open houses;

                g.      directly contacted local real estate brokers advising them of

                        the availability of the Properties;

                h.      distributing property detail flyers; and
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                i.      placed a “For Sale” sign on the facade of the Property to

                        attract both vehicle and pedestrian traffic.



                        Copies of the aforementioned advertisements can be found

                in EXHIBIT B of this report.



         9.     MYC’s marketing efforts resulted in:

                a.      approximately 55 inquiries regarding the Properties;

                b.      approximately 11 potential purchasers coming to view the

                        Property; and

                c.      receiving multiple offers to purchase the Property.



                                CONTRACT AND SALE

         10.    On or about June 28, 2012, the Trustee entered into a sale

   agreement with J&R New York Realty, Inc. (the “Purchaser”) to purchase the

   Property for $740,000.00 (the “Sale”), which is subject to higher and better offers

   in accordance with the sale procedures.



         11.    On August 27, 2012 @ 10:00 a.m. in the Courtroom of your honor,

   a public auction was held in which higher or better offers were entertained. Six

   (6) bidders were deemed qualified to bid and registered to bid on the Property.

   After spirited bidding, a high offer of $940,000.00 submitted by Noor Ahmed

   Yaqub (the “Purchaser”) was accepted by the Trustee as the highest and best
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   offer.     Attached to this report as EXHIBIT C, is a copy of the Sale Order

   approving the sale of the Property to the Purchaser. [Docket No. 79]



            9.     I believe that the best results were achieved for the sale of the

   Property.



            10.    I verify to the best of my knowledge that the foregoing is true and

   correct.


                                             MYC & ASSOCIATES, INC.


                                             By: /s/ Marc P. Yaverbaum
                                             Marc P. Yaverbaum
                                             MYC & Associates, Inc.
                                             1110 South Avenue, Suite 61
                                             Staten Island, New York 10314
                                             e-mail: my@myccorp.com



   DATED: September 17, 2012
   Staten Island, New York
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         AFFIDAVIT OF RULE 2016 AND CERTIFICATION
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------------------X

   In re:
                                                                Chapter 7
   LUI J. KIM,
                                                                Case No. 11-15842 (MG)
            Debtor.

   --------------------------------------------------------X

                      AFFIDAVIT OF MARC P. YAVERBAUM
            PURSUANT TO BANKRUPTCY RULE 2016 AND CERTIFICATION


   State of New York                  )
                                      ) ss.:
   County of Richmond                 )


            Marc P. Yaverbaum, being duly sworn, deposes and says:

            1.      I am a member of the firm of MYC & ASSOCIATES, INC., the

   applicant herein, which maintains its corporate offices at 1110 South Avenue,

   Suite 61, Staten Island, New York 10314.



            2.      Applicant has acted and rendered professional services in the

   above captioned Chapter 7 proceeding.



            3.      No agreement or understanding exists between the applicant and

   any person for a division of compensation to be received for services rendered

   in, or in connection with this Chapter 7 case, nor will the applicant share or agree
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   to share the compensation paid, or allowed, from the Debtor’s estate for such

   services with any other person.



                                        MYC & ASSOCIATES, INC.


                                        By: /s/ Marc P. Yaverbaum
                                        Marc P. Yaverbaum
                                        MYC & Associates, Inc.
                                        1110 South Avenue, Suite 61
                                        Staten Island, New York 10314
                                        e-mail: my@myccorp.com

       Sworn to me before this
       17th Day of September 2012

       /s/ Patricia C. Lopez
       Patricia C. Lopez
       NOTARY PUBLIC, State of New York
       No. 01LO4931396
       Qualified in Richmond County
       Commission Expires June 20, 2014
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------
In Re:                                                         Chapter 7

                 LUI J. KIM,                                   Case No. 11-15842 (MG)

                                    Debtor.
------------------------------------------------------------


                           ORDER AUTHORIZING THE RETENTION OF
                            REAL ESTATE BROKER FOR TRUSTEE

                 UPON reading the application of ROBERT L. GELTZER, ESQ., Trustee

(the "Trustee") for Lui J. Kim (the "Debtor"), dated March 20, 2012, and the affidavit of

Marc P. Yaverbaum, sworn to the 19th day of March, 2012, seeking the entry of an

order pursuant to 11 U.S.C. § 327(a) and Bankruptcy Rule 2014, authorizing the

retention of MYC & Associates, Inc. ("broker") as broker, to market and sell the real

property of the Debtor, and after due deliberation it being determined that the relief

requested is essential to the administration of this estate, and this Court being satisfied

that the broker holds and represents no interest adverse to the Trustee, the Debtor, or

its estate, and that broker is, and has been, a disinterested person, as defined by 11

U.S.C. § 101(14), in the matters upon which he is to be, and has been, engaged, and

that his employment is necessary and would be in the best interests of the estate, and

no notice hereof being required and sufficient cause having been shown therefor, it is

                 ORDERED that the Trustee be, and he hereby is, authorized to retain

MYC & Associates, Inc. (“MYC”), a disinterested party, as broker, pursuant to 11 U.S.C.

§ 327(a) and Rule 2014, to market the premises located at 52-09 Skillman Avenue,

Flushing, New York, and 1 East Mill Drive, Great Neck, New York, together with any

other properties of the Debtor and/or of affiliates of the Debtor that may be or may
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become properties of the estate, for a fee to be fixed by this Court, not to exceed 6% of

the sale(s) price(s), upon the filing of a proper application therefor to the Court, as

provided by the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and any

local rules of this District.


NO OBJECTION:


/s/Richard C. Morrissey__________
FOR THE UNITED STATES TRUSTEE



Dated: May 10, 2012
       New York, New York


                                           _____/s/Martin Glenn_______
                                                  MARTIN GLENN
                                           United States Bankruptcy Judge




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                            :   Chapter 7
                                                                  :
LUI J. KIM,                                                       :   Case No. 11-15842 (MG)
                                             Debtor.              :
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         ORDER AUTHORIZING AND APPROVING SALE BY ROBERT L.
    GELTZER, CHAPTER 7 TRUSTEE, OF INTEREST OF DEBTOR’S ESTATE IN
      CERTAIN REAL PROPERTY LOCATED AT 52-09 SKILLMAN AVENUE,
    WOODSIDE, NEW YORK TO NOOR AHMED YAQUB, FREE AND CLEAR OF
       LIENS, CLAIMS AND ENCUMBRANCES, SUCH LIENS, CLAIMS AND
    ENCUMBRANCES TO ATTACH TO THE NET PROCEEDS OF SUCH SALE, IN
                   ACCORDANCE WITH THE TERMS AND
       CONDITIONS OF THE SALE AGREEMENT WITH THE PURCHASER
                                                  (Sale Order)

         Upon consideration of the motion of Robert L. Geltzer (the “Trustee”), Chapter 7 trustee

of the debtor Lui J. Kim (the “Debtor”), dated August 27, 2012 (the “Motion”) for, among other

things, entry of an order authorizing and approving and the Sale1 of the Property located at 52-09

Skillman Avenue, Woodside, New York, free and clear of liens, claims and encumbrances, with

such liens, claims and encumbrances, if any, to attach to the net proceeds in accordance with the

terms and conditions of the Sale Agreement and this Order, finding that due notice of the Sale

Motion has been given to all known creditors and parties in interest in the Debtor’s case and to

all known parties interested in acquiring the Skillman Avenue Property, that an Auction has been



1
         Capitalized terms, unless otherwise defined herein, shall have the same respective meanings ascribed to
         such terms as in the Motion.
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regularly conducted on August 27, 2012, and that the Trustee has determined that Noor Ahmed

Yaqub (the “Purchaser”) has submitted the highest or otherwise best offer for the Skillman

Avenue Property in the amount of $940,000; after due deliberation; and good and sufficient

cause appearing therefor, it is hereby

       FOUND AND DETERMINED THAT:

               (a)     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding under 28 U.S.C. § 157(b)(2). Venue of this case in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.


               (b)     The statutory predicates for the relief sought in the Motion are sections

105 and 363 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy

Code”), and Rules 2002, 6004 and 9014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).


               (c)     This Court entered the Sale Procedures Order on August 6, 2012, and the

Sale Procedures Order has become a final and non-appealable order.


               (d)     As evidenced by the certificates of service and publication filed with this

Court, (i) proper, timely, adequate and sufficient notice of the relief requested in the Sale

Motion, dated August 27, 2012, has been provided in accordance with the Bankruptcy Code and

Bankruptcy Rules, (ii) such notice was good and sufficient under the circumstances, and (iii) no

other or further notice of the Motion is or shall be required.


               (e)     A reasonable opportunity to object or be heard with respect to the Sale

Motion and the relief requested therein, has been afforded to all interested parties and entities,

including: (i) all creditors of the Debtor; (ii) all parties in interest who have requested notice


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pursuant to Rule 2002 in this Chapter 7 case; (iii) all persons who have made themselves known

to the Trustee as potential purchasers of the Skillman Avenue Property or whom MYC has

identified as potential purchasers of the Skillman Avenue Property; (iv) those real estate brokers

with whom MYC has consulted regarding the sale of the Property; (v) the Purchaser; (vi) all

affected federal, state and local regulatory and taxing authorities; (vii) the parties holding any

liens upon the Skillman Avenue Property; and (viii) the Office of the United States Trustee for

the Southern District of New York, 33 Whitehall Street, New York, New York 10004

(collectively, the “Service Parties”).


                (f)     Pursuant to sections 105(a), 363(b) and 704(a)(1) of the Bankruptcy Code,

the Trustee: (i) has full power and authority to execute the Sale Agreement with the Purchaser

(the “Sale Agreement”) and all other documents contemplated thereby, (ii) has full power and

authority necessary to consummate the transactions contemplated by the Sale Agreement, and

(iii) is not required to receive consents or approvals to consummate a Sale, except as set forth in

further Orders of this Court.


                (g)     Pursuant to Section 363(f), the Trustee may sell the Skillman Avenue

Property free and clear of all liens, claims and encumbrances, except for the permitted exceptions

as set forth in the Sale Agreement (the “Permitted Exceptions”).


                (h)     Good and sufficient reasons for approval of the Sale Agreement and the

Sale have been articulated. The relief requested is in the best interest of the Debtor, the Debtor’s

estate, the estates of creditors, and other parties in interest.


                (i)     The Sale Agreement was proposed and entered into by the Trustee and the

Purchaser without collusion, in good faith, and resulted from arm's-length bargaining. Neither


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the Trustee nor the Purchaser have engaged in any conduct that would cause or permit the Sale

Agreement to be avoided under Section 363(n) of the Bankruptcy Code.


               (j)     The Purchaser is a good faith Purchaser under Bankruptcy Code section

363(m) and, as such, is entitled to all of the protections afforded thereby. The Purchaser will be

acting in good faith within the meaning of Bankruptcy Code section 363(m) in closing the Sale

and at all times after the entry of this Sale Order.


               (k)     The consideration to be provided by the Purchaser for the Skillman

Avenue Property pursuant to the Sale Agreement: (i) shall be deemed fair and reasonable, (ii)

shall be the highest and/or best offer for the Skillman Avenue Property, (iii) will provide a

greater recovery for the Debtor’s creditors and equity holders than would be provided by any

other practical available alternative, and (iv) shall constitute reasonably equivalent value and fair

consideration under the Bankruptcy Code and under the laws of the United States, any state,

territory, possession, or the District of Columbia.


               (l)     The transfer of the Property to the Purchaser will be a legal, valid, and

effective transfer of the Skillman Avenue Property, and will vest the Purchaser with all of the

estate’s right, title, and interest in the Skillman Avenue Property, free and clear of all liens,

claims, and encumbrances, except the Permitted Exceptions.


               (m)     The Purchaser would not have entered into the Sale Agreement and would

not consummate the transactions contemplated thereby, thus adversely affecting the Debtor’s

estate, and creditors, if the Sale was not free and clear of all interests of any kind or nature

whatsoever, except for the Permitted Exceptions.




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                (n)     The transfer of the Skillman Avenue Property to the Purchaser pursuant to

the Sale Agreement will not subject the Purchaser to any liability whatsoever with respect to the

Skillman Avenue Property (except those expressly assumed in the Sale Agreement), prior to the

closing date set forth in the Sale Agreement, or by reason of such transfer under the laws of the

United States, any state, territory, or possession thereof, or the District of Columbia, based, in

whole or in part, directly or indirectly, on any theory of law or equity, including, without

limitation, any theory of equitable law, including, without limitation, any theory of antitrust or

successor or transferee liability.


        NOW, THEREFORE, THE COURT HEREBY ORDERS AS FOLLOWS:

                1.      The Motion is GRANTED.


                2.      The Sale Agreement with the Purchaser, and together with all of the terms

and conditions thereof, is hereby approved.


                3.      Pursuant to Sections 363(b) and (f) of the Bankruptcy Code, the Trustee is

authorized to consummate the Sale with the Purchaser, pursuant to and in accordance with the

terms and conditions of the Sale Agreement.


                4.      Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the

Skillman Avenue Property shall be transferred to the Purchaser, and upon consummation of the

transactions envisioned in the Sale Agreement (the “Closing Date”), shall be free and clear of all

claims and interests, except the Permitted Exceptions, with all such claims and interests to attach

to the net proceeds of the Sale in the order of their priority, and in the amounts as set forth in

Exhibit “A” annexed hereto.




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                5.      Except as expressly permitted or otherwise specifically provided by the

Sale Agreement or this Order, all persons and entities, holding interests of any kind or nature

whatsoever against or in the Debtor or the Skillman Avenue Property (whether legal or equitable,

secured or unsecured, matured or unmatured, contingent or non-contingent, senior or

subordinated), arising under or in connection with, or in any way relating to, the Debtor and the

Skillman Avenue Property prior to the Closing Date or the transfer of the Skillman Avenue

Property to the Purchaser, shall be forever barred, estopped, and permanently enjoined from

asserting against the Purchaser, its successors or assigns, its property or the Skillman Avenue

Property, such interests.


                6.      The transfer of the Skillman Avenue Property to the Purchaser pursuant to

the Sale Agreement constitutes a legal, valid, and effective transfer of the Skillman Avenue

Property, and shall vest the Purchaser with all right, title, and interest of the estate in and to the

Skillman Avenue Property, free and clear of interests of any kind or nature whatsoever, except

the Permitted Exceptions set forth in the Sale Agreement.


                7.      The Purchaser shall have no liability or responsibility for any liability or

other obligation of the Debtor arising under or related to the Skillman Avenue Property other

than those assumed or agreed to pursuant to the Sale Agreement.


                8.      Under no circumstances shall the Purchaser be deemed a successor of or to

the Debtor for any interest against or in the Debtor or the Skillman Avenue Property of any kind

or nature whatsoever, except as may be set forth in the Sale Agreement.




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               9.      The consideration provided by the Purchaser for the Skillman Avenue

Property under the Sale Agreement is fair and reasonable and may not be avoided under

Bankruptcy Code section 363(n).


               10.     The Sale transaction contemplated by the Sale Agreement is undertaken

by the Purchaser in good faith, as that term is used in section 363(m) of the Bankruptcy Code,

and accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the Sale shall not affect the validity of the Sale to the Purchaser. The Purchaser is a

good faith purchaser, and is entitled to all of the benefits and protections afforded by section

363(m) of the Bankruptcy Code.


               11.     The failure specifically to include any particular provisions of the Sale

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Court that the Sale Agreement be authorized and approved in its entirety.


               12.     In the event of any inconsistency between this Sale Order and the Sale

Agreement, this Sale Order shall govern.


               13.     Notwithstanding Bankruptcy Rule 6004(h), this Sale Order shall not be

stayed for fourteen (14) days after the entry hereof and shall be effective and enforceable

immediately upon signature hereof.




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               14.    The Court shall retain jurisdiction to enforce the relief granted herein,

including but not limited to the Sale of the Skillman Avenue Property to the Purchaser, and to

implement the terms and provisions of (i) the Sale Agreement with the Purchaser, and (ii) this

Sale Order.


Dated: New York, New York
       September 10, 2012

                                             _____/s/Martin Glenn_______
                                                    MARTIN GLENN
                                             United States Bankruptcy Judge




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                                   EXHIBIT A
                 LIEN AMOUNTS TO BE PAID FROM PROCEEDS OF SALE

Nautilus Capital LLC                   $498,155.44

NewBank                                $181,263.84

New York City Water                    $1,416.77




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